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15   Counsel for Plaintiffs Ruby Mitchell and
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16

17                                   UNITED STATES DISTRICT COURT

18                               NORTHERN DISTRICT OF CALIFORNIA

19                                              SAN JOSE DIVISION

20
      RUBY MITCHELL and EDWARD J. KELLY,                     Case No. 5:18-cv-05623-BLF
21    individually, and on behalf of a class of similarly
      situated persons,                                      NOTICE OF HEARING ON
22                                                           PLAINTIFFS RUBY MITCHELL’S AND
                                 Plaintiffs,                 EDWARD J. KELLY’S MOTION FOR
23                                                           PRELIMINARY APPROVAL OF CLASS
               v.                                            ACTION SETTLEMENT AND FOR
24                                                           CERTIFICATION OF SETTLEMENT
      INTERO REAL ESTATE SERVICES,                           CLASS
25
                                 Defendant.                  Date: April 7, 2022
26                                                           Time: 9:00 a.m.
                                                             Place: Courtroom 3, 5th Floor
27                                                           Judge: Honorable Beth Labson Freeman
28
      NOTICE OF HEARING ON MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                      Mitchell v. Intero Real Estate Services, No. 5:18-cv-05623-BLF
      Case 5:18-cv-05623-BLF Document 279 Filed 11/10/21 Page 2 of 3



 1                                NOTICE OF MOTION HEARING

 2 TO THE COURT, ALL PARTIES, AND ALL COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE that on April 7, 2022 at 9:00 a.m., or as soon thereafter as this

 4 matter may be heard, in Courtroom 3, 5th Floor, before the Honorable Beth Labson Freeman,

 5 Plaintiffs Ruby Mitchell and Edward J. Kelly (together, “Plaintiffs”) respectfully will and hereby do

 6 move this Court for an order preliminarily approving the class action Settlement reached in this case;

 7 preliminarily certifying the Settlement Class; appointing Ruby Mitchell and Edward J. Kelly as the

 8 Class Representatives; appointing Tycko & Zavareei LLP, Reese LLP, and Bailey & Glasser LLP as

 9 Settlement Class Counsel; appointing KCC Class Action Services LLC as the Settlement Administrator

10 and directing it to carry out the duties assigned to it in the Settlement Agreement; approving the

11 proposed Notice Plan and directing that Class Notice be distributed to the Settlement Class; and

12 scheduling a Final Approval Hearing.

13 Date: November 10, 2021                            TYCKO & ZAVAREEI LLP

14                                                By: /S/ Sabita J. Soneji
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                     Mitchell v. Intero Real Estate Servs., No. 5:18-cv-05623-BLF
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                                            and the Classes
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